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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


  HOLOGIC, INC., and CYTYC SURGICAL
  PRODUCTS , LLC,
                                                                            1:15CV1031
                         Plaintiffs,

        V.                                                                   VERDICT

  MINERVA SURGICAL, INC.,

                         Defendant.


    We, the jury, find by a preponderance of evidence, as follows:

    I.     PATENT DAMAGES
    • As instructing in Instructions Nos. 13 to 22 , we find Hologic is entitled damages
       for: (answer YES to only one)

             o   ___:i_ Lost profits (Answer question I.a)
               OR
             o _ _ Only a Reasonable Royalty (Answer question 1.b)

       I.a       If you find that Hologic is entitled to lost profits answer the following:

             o   For lost profits of $   t./, 2.oO   1   ~2'f .'~-5 and ,

             o For royalties for sales not included in lost profits$        581-, l 3¥//g, a
               royalty of ~ %

       l.b       If you find that Hologic is entitled to only a Reasonable Royalty:

             o   For a reasonable royalty $_ _ _ _ _ _ , a royalty of _ _ %.




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    II.       WILLFUL INFRINGEMENT

    •      As instructed in Instruction No. 23 , we find Minerva's infringement of the '348
           patent was

                       Willful

                  X     Not willful




    Ill.      MINERVA'S COUNTERCLAIMS
                A. Breach of Contract

    •      On Minerva's claim for breach of contract, as instructed in Instruction No. 35 , we
           find in favor of


           - - Minerva           or     X    Hologic



                  B. Lanham Act

    •      On Minerva's claim of false advertising under the Lanham Act, as instructed in
           Instruction No. 33 , we find in favor of


                  - - Minerva          or     X_ Hologic

           If you found in favor of Hologic your deliberations are at an end.

           If you found in favor of Minerva, answer the following:

              o   What is the amount of money required to compensate Minerva for any
                  actual injury?

                  $_ _ _ _ _ _ _ _ _ _ _ _


              o   What is the amount of additional profits Hologic gained as a result of the
                  false advertising?

                  $_ _ _ _ _ _ _ _ _ _ _ _



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             o Was Hologic's conduct willful?


                - - Yes


                - - No




          Your deliberations are at an end. Please have your foreperson sign and date this
 form .

 DATED thisJt day of July, 2018.




 JURORS :




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